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          Case 2:19-cr-00246-MCA Document
                               UNITED     26 DISTRICT
                                      STATES  Filed 06/17/19
                                                       COURT Page 1 of 1 PageID: 195
                                  DISTRICT OF NEW JERSEY

                                              MAGISTRATE’S COURTROOM MINUTES

 UNITED STATES OF AMERICA                                     MAGISTRATE JUDGE:      JAMES B. CLARK

              V.                                              MAGISTRATENO.:             19-cr-246-MCA-2
                                                              DATE OF PROCEEDINGS:      6/17/2019
 LESTER STOCKETT

                                                              DATE OF ARREST:       5/30/2019



 PROCEEDINGS:             Anminment

()COMPLAINT                                                   ()TEMPORARY COMMITMENT
     ADVISED OF RIGHTS                                        ()CONSENT TO DETENTION WITH RIGHT TO MAKE A
( ) WAIVER OF COUNSEL                                             BAILAPPLICATIONAT A LATERTIME
   ) APPT. OF COUNSEL:  AFPD      CJA                             BAIL DENIED DEFENDANT REMANDED TO CUSTODY
                                                                           -



()WAIVER OF HRG.:       PRELIM    REMOVAL                       ) BAIL SET:
   )ONSENT TO MAGISTRATE’S JURIS CTION                                 ) UNSECURED BOND
(‘b4’PLEA ENTERED:     GIJILTY  NOT GUILTY                           ()SUREIY BOND SECURED BY CASH / PROPERTY
()PLEA AGREEMENT                                                  TRAVEL RESTRICTED
   )RULE11FORM                                                  ) REPORT TO PRETRIAL SERVICES
()FINANCIAL AFFIDAVIT EXECUTED                                ()DRUGTESTINGAND/ORTREATMENT
( )OTHER                                                      ()MENTAL HEALTH TESTING AND/OR TREATMENT
                                                                  SURRENDER&/OROBTAINNO PASSPORT
                                                              ()SEE ORDER SETTING CONDITIONS OF RELEASE FOR
                                                                  ADDITIONAL CONDITIONS

HEARING(S) SET FOR:

()PRELIMINARY! REMOVAL HRG.                                     DATE:
   DETENTION! BAIL HRG.                                         DATE:
   TRIAL:    COURT      JURY                                    DATE:
   SENTENCING                                                   DATE:
( )OTHER:______________                                         DATE:




APPEARANCES:

AUSA                 Jacob Foster, AUSA

DEFT. COUNSEL         Valentin Rodrinuez. Jr.. Retained

PROBATION

INTERPRETER   -




        I.        Language:                        )

Time                              Commenced:       3b2    .




Time Terminated:
CD No:               ECR           1
                                                                                  Stepfien cBond

                                                                                   DEPUTY CLERK
